337 F.2d 1011
    HARTFORD FIRE INSURANCE COMPANY, Appellantv.PROFESSIONAL MEN'S INVESTMENT, INC., (Defendant) and H.Hershey Cohen, etc., et al., (Intervenors) John R.McKeever, Receiver of Professional Men'sInvestment, Inc., (Intervenor).
    No. 14785.
    United States Court of Appeals Third Circuit.
    Argued Sept. 24, 1964.Decided Oct. 6, 1964.
    
      Thomas Lewis Jones, Pittsburgh, Pa.  (White, Jones &amp; Gregg, William T. Creehan, Pittsburgh, Pa., on the brief), for appellant.
      Harry R. Levy, Pittsburgh, Pa., for appellee.
      Before HASTIE and FORMAN, Circuit Judges, and KIRKPATRICK, District judge.
      PER CURIAM.
    
    
      1
      The question here, as stated in the brief of the appellant, is whether there was 'an abuse of discretion by the Trial Court in the allowance of $1,000.00 as counsel fees to the interpleading stakeholder wherein it had been determined that the reasonable value for the services performed was $6,000'.  The attorney concerned is counsel for an interpleading insurance company and the interpleaded fund represents the proceeds of a fire insurance policy.  The services covered by the district court's $6000 figure included many items, other than the interpleading of claimants, which were needed by and valuable to the insurer in the administration and disposition of this claim of loss.  We cannot say that the district court abused its discretion in determining that $1000 represented a reasonable allocation for that part of the services of its counsel which was a proper charge against the interpleaded fund.  In thus ruling we pass no judgment upon the value of the attorney's additional professional services for his client which may well have been worth even more than the difference between $6000 and $1000.
    
    
      2
      The judgment will be affirmed.
    
    